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 5
                                                            The Honorable Ricardo S. Martinez
 6
                          IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9
     WASHINGTON STATE ASSOCIATION OF HEAD
10   START AND EARLY CHILDHOOD ASSISTANCE
     AND EDUCATION PROGRAM, ILLINOIS HEAD
11
     START ASSOCIATION, PENNSYLVANIA HEAD
12   START ASSOCIATION, WISCONSIN HEAD
     START ASSOCIATION, FAMILY FORWARD
13
     OREGON, and PARENT VOICES OAKLAND,
14
                         Plaintiffs,
15                                                      Case No. 2:25-cv-00781-RSM
           v.
16
                                                        NOTICE OF SUPPLEMENTAL
17
     ROBERT F. KENNEDY, JR., in his official capacity   AUTHORITY
18   as Secretary of Health and Human Services; U.S.
     DEPARTMENT OF HEALTH AND HUMAN
19
     SERVICES; ANDREW GRADISON, in his official
20   capacity as Acting Assistant Secretary of the
     Administration for Children and Families;
21
     ADMINISTRATION FOR CHILDREN AND
22   FAMILIES; OFFICE OF HEAD START; and TALA
     HOOBAN, in her official capacity as Acting
23
     Director of the Office of Head Start,
24
                         Defendants.
25

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     NOTICE OF SUPPLEMENTAL AUTHORITY       -1             A.C.L.U. OF WASHINGTON
     2:25-CV-00781-RSM                                     PO BOX 2728 SEATTLE, WA 98111-2728
                                                           (206) 624-2184
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 1          Pursuant to Local Rule 7(n), Plaintiffs write to notify the Court of supplemental authority

 2 relevant to their pending Motion for a Preliminary Injunction, ECF No. 37.

 3          On July 1, 2025, the U.S. District Court for the District of Rhode Island granted the

 4 plaintiffs’ request for a motion for a preliminary injunction in New York v. Kennedy, No. 25-CV-

 5 196-MRD-PAS, ECF 73, 2025 WL 1803260 (D.R.I. July 1, 2025), which challenged the

 6 “terminations and agency restructuring” announced by the U.S. Department of Health and

 7 Human Services on March 27, including at “specifically . . . the Office of Head Start and the

 8 Head Start employees in Regional Offices . . . .” Id. at *3.

 9          The decision is attached to this filing.

10

11   Dated: July 3, 2025                               Respectfully submitted,
12

13   Ming-Qi Chu (pro hac vice)                        By:      /s/ La Rond Baker
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                                                       La Rond Baker (WSBA No. 43610)
14   vice)
                                                       Brent Low (WSBA No. 61795)
     Linda S. Morris* (pro hac vice)
15                                                     David Montes (WSBA No. 45205)
     *admitted in State of Maryland
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     NOTICE OF SUPPLEMENTAL AUTHORITY         -3            A.C.L.U. OF WASHINGTON
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